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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


                                CASE NO.22-81294-CIV-CANNON


  DONALD J. TRUMP,

         Plaintiff,
  V.



  UNITED STATES OF AMERICA,

         Defendant.
                                            /

                             DECLARATION OF SPECIAL MASTER


         I, RAYMOND J. DEARIE,declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

  that the following is true and correct:

          1.     I am a Senior Judge of the United States District Court for the Eastern District of

  New York.


         2.      Pursuant to Rule 53(a)(2) of the Federal Rules of Civil Procedure, I am submitting

  this declaration for the purpose of disclosing whether there is any ground under 28 U.S.C. § 455

  for my disqualification in this proceeding.

         3.      Section 455 provides, in pertinent part, that

                 (a) Any justice, judge, or magistrate judge of the United States shall disqualify
                     himself in any proceeding in which his impartiality might reasonably be
                      questioned.

                 (b) He shall also disqualify himself in the following circumstances:

                         1) Where he has a personal bias or prejudice concerning a party, or
                            personal knowledge of disputed evidentiary facts concerning the
                            proceeding;

                         2) Where in private practice he served as lawyer in the matter in
                            controversy, or a lawyer with whom he previously practiced law served
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                            during such association as a lawyer concerning the matter, or the judge
                            or such lawyer has been a material witness concerning it;

                        3) Where he has served in governmental employment and in such capacity
                           participated as counsel, adviser or material witness concerning the
                           proceeding or expressed an opinion concerning the merits of the
                            particular case in controversy;

                        4) He knows that he, individually or as a fiduciary, or his spouse or minor
                           child residing in his household, has a financial interest in the subject
                           matter in controversy or in a paily to the proceeding, or any other
                           interest that could be substantially affected by the outcome of the
                            proceeding;

                        5) He or his spouse, or a person within the third degree of relationship to
                            either of them, or the spouse of such a person:

                                i.    Is a party to the proceeding, or an officer, director, or trustee
                                      of a party;

                                ii.   Is acting as a lawyer in the proceeding;

                               ili.   Is known by the judge to have an interest that could be
                                      substantially affected by the outcome of the proceeding;

                               iv.    Is to the judge's knowledge likely to be a material witness in
                                      the proceeding.

                (c) A judge should inform himself about his personal and fiduciary financial
                    interests, and make a reasonable effort to inform himself about the personal
                    financial interests of his spouse and minor children residing in his household.

           4.    I have familiarized myself with the issues involved in this case. As a result of my

  knowledge of the case, 1 can attest and affirm that I know of no grounds for disqualification under

  28 U.S.C. § 455 that would prevent me from serving as Special Master to conduct a review of the

  seized materials as described in the Order Appointing Special Master.


  Dated:         Brooklyn, New York
                 September 15, 2022                     RAYMOND Ipl^iARIE
                                                        United Statc^Districl Judge
